      Case 3:04-cr-00005-MCR       Document 167     Filed 05/19/06   Page 1 of 1



                                                                            Page 1 of 1

                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                           CASE NO.: 3:04cr5/MCR

TAMECCA SHAW MUSA
                               /


                          ORDER REDUCING SENTENCE

      Before the Court is the Government’s Rule 35 motion (doc. 165) advising that
a reduction in Defendant’s sentence may be warranted by her cooperation and
substantial assistance since her sentencing. The Court finds that a reduction is
proper to reward her assistance to the Government in the investigation and
prosecution of others.
      Defendant’s sentence of confinement is, therefore, reduced to 36 months. In
all other respects, the original sentence imposed in the Judgment and Commitment
Order filed July 1, 2005, shall remain unchanged.
      ORDERED this 19th day of May, 2006.


                                        s/   M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
